                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


VERNA STEVERSON and DAVIS                      )
STEVERSON,                                     )
                                               )
       Plaintiffs,                             )       No. 3:19-cv-00140
                                               )
v.                                             )       CRENSHAW/NEWBERN
                                               )
WALMART, CMI CLAIMS                            )       JURY DEMAND
MANAGEMENT, CINCINNATI                         )
INSURANCE COMPANY, GE                          )
APPLIANCES, OZARK                              )
ELECTRONICS AND GREE                           )
MANUFACTURING COMPANY,                         )
                                               )
       Defendants.                             )



                     RESPONSE TO COURT NOTICE OF MARCH 7, 2019


      Notice is hereby given in response to the Court’s Second Notice of March 7, 2019, that

Joseph T. Rivera, Jr. will not appear as counsel for Defendants, Haier U.S. Appliance Solutions,

Inc., d/b/a GE Appliances and Gree USA, Inc. in the above-styled case. These Defendants will

continue to be represented by J. Randolph Bibb, Jr. and Whitney Henry Kimerling in accordance

with their previously filed notices of appearance (Doc. 23; Doc. 22, respectively). The clerk is

requested to stop all mailings in this case to Joseph T. Rivera, Jr.




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                                Respectfully submitted,

                                LEWIS, THOMASON,
                                KING, KRIEG & WALDROP, P.C.

                                By: __/s/ Whitney Henry Kimerling___________
                                       J. Randolph Bibb, Jr., B.P.R. No. 009350
                                       Whitney H. Kimerling, B.P.R. No. 029208
                                       424 Church Street, Suite 2500
                                       Post Office Box 198615
                                       Nashville, Tennessee 37219
                                       (615) 259-1366 (phone)
                                       (615) 259-1389 (facsimile)
                                       rbibb@lewisthomason.com
                                       wkimerling@lewisthomason.com

                                       Attorneys for Defendants, Haier U.S.
                                       Appliance Solutions, Inc., d/b/a GE
                                       Appliances and Gree USA, Inc.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 25th day of March, 2019, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt. All other parties will be served by
regular U.S. Mail. Parties may access this filing through the Court’s electronic filing system.

Verna and Davis Steverson                      Daniel P. Berexa, Esq.
111 Louise Drive                               Mary E. Stoner, Esq.
Dickson, TN 37055                              Cornelius & Collins, LLP
Plaintiffs Pro Se                              511 Union Street, Suite 1500
                                               Nashville, TN 37219
E. Jason Ferrell, Esq.                         Attorneys for Defendant, Ozark Electronics
Brewer, Krause, Brooks & Chastain, PLLC        Repair, Inc.
545 Mainstream Drive, Suite 101
Nashville, TN 37228                       Elle G. Kern, Esq.
Attorney    for     Cincinnati  Insurance George Andrew Rowlett, Esq.
Company                                   Howell & Fisher, PLLC
                                          3310 West End Avenue, Suite 550
                                          Nashville, TN 37203
                                          Attorneys for Defendants, Walmart, Inc. and
                                          Claims Management, Inc.




                                                       /s/ Whitney Henry Kimerling




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